                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION-FLINT
  IN THE MATTER OF:
  Donna D. Poplar,                                    Bankruptcy Case No. 13-31247-dof
                                                      Honorable Daniel S. Opperman
                                                      Chapter 7
                   Debtor.
                                    /
                              STIPULATION FOR ENTRY OF ORDER
         Trustee, Collene K. Corcoran (“Trustee”), and the Debtor, Donna D. Poplar, by and through their
  respective attorneys, hereby stipulate and agree to the entry of the attached Order regarding Debtor’s
  claimed exemptions in wrongful termination claim against the City of Flint.
  AGREED:
  BEADLE SMITH, PLC
   /S/ Kevin M. Smith                                    /S/ John L. Topping, Jr.
  By: Kevin M. Smith (P48976)                           By: John L. Topping, Jr. (P37818)
  Attorneys for Trustee                                 Attorneys for Debtor
  445 South Livernois, Suite 305                        653 S. Saginaw Street, Suite 202
  Rochester Hills, MI 48307                             Flint, MI 48502
  (248) 650-6094, Ext. 15; (248) 650-6095 (fax)         (810) 600-1534
  ksmith@bbssplc.com                                    jt.dmmbky@yahoo.com
  Dated: 12/2/15                                        Dated: 12/2/15




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  IN THE MATTER OF:
  Donna D. Poplar,                                               Bankruptcy Case No. 13-31247-dof
                                                                 Honorable Daniel S. Opperman
                                                                 Chapter 7
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                                           /

     STIPULATED ORDER REGARDING THE DEBTOR’S EXEMPTION IN WRONGFUL
                TERMINATION SUIT AGAINST THE CITY OF FLINT
           Trustee, Collene K. Corcoran (“Trustee”) has raised concerns regarding the Debtor’s claimed
  exemption in a lawsuit arising out of the alleged wrongful termination of the Debtor from the City of
  Flint (“Claim”); the Trustee and the Debtor, by and through their respective attorneys, stipulate to the
  entry of this order holding regarding the Debtor’s exemption in the Claim; the Court being fully advised
  in the premises:
           NOW THEREFORE,
           IT IS HEREBY ORDERED that the Debtor shall be entitled to an aggregate exemption in the
  Claim in the amount of $40,000.00 comprised of an exemption in the amount of $2,685.00 pursuant to
  11 U.S.C. §522(d)(5) and the sum of $37,315.00 pursuant to 11 U.S.C. §522(d)(11)(E).
           IT IS FURTHER ORDERED that the Debtor is prohibited from amending her exemptions regarding
  the Claimand that her exemption shall be limited to $40,000.00 in thisbankruptcyproceedingasthe Trustee isrelyingupon such
  exemption in seeking a settlement of the Claim.




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